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 1

 2
                       UNITED STATES DISTRICT COURT
 3
                              DISTRICT OF NEVADA
 4

 5   UNITED STATES OF AMERICA,       )
                                     )         2:12-CR-00083-KJD-GWF
 6               Plaintiff,          )
                                     )         O R D E R
 7               v.                  )
                                     )
 8   OMAR BUTT, et al.,              )
                                     )
 9              Defendants.          )

10
          Before the Court is the government’s motion for permission
11
     to engage in alternative victim notification procedures.             The
12
     Court, having reviewed the motion and found good cause for
13
     proceeding under alternative notification procedures, opines as
14
     follows:
15
          IT IS THEREFORE ORDERED that the government’s motion is
16
     GRANTED. The UNITED STATES shall         communicate with and provide
17
     notification to the pool of potential victims through the
18
     internet.
19
          It IS FURTHER ORDERED that for a period of not less than
20
     three (3) months, the International Association of Financial
21
     Crime Investigators (IAFCI)shall post on IAFCI’s own website a
22
     notice providing victims with information and links to the U.S.
23
     Attorney’s Office public website.
24
          IT IS FURTHER ORDERED that, for a period of not less than
25

26                                       13
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 1   three (3) months, the United States Secret Service (USSS) and

 2   Homeland Security Investigations (HSI) shall each place a similar

 3   notice on their agencies’ public websites providing victims with

 4   information and links to the U.S. Attorney’s Office public

 5   website.

 6        IT IS FURTHER ORDERED that for each of the three companion

 7   cases, 2:12-CR-004; 2:12-CR-083; and 2:12-CR-084; the UNITED

 8   STATES shall post on the U.S. Attorney’s Office public website

 9   the Indictments and significant pleadings in each case, forms for

10   communication and conferral, and notice of events and hearings.

11   The notice shall provide the following information regarding this

12   case:

13        1.   The names of the defendants, the case number and
          charges;
14
          2.   All of the victim rights codified at 18 U.S.C. §
15        3771(a);

16        3.    The identity of the prosecutors;

17        4.    The identity and contact telephone numbers of Victim
                Witness Coordinator; and
18
          5.    A web-based victim impact questionnaire. This
19              questionnaire will allow for the orderly collection of
                certain victim information, help authenticate those who
20              are actual victims and give the millions of victims an
                opportunity to describe their plight to government
21              attorneys.

22
                 16th
     Dated this ______ day of April 2012.
23

24                   ______________________________________________
                     Honorable Magistrate Judge George W. Foley Jr.
25

26                                     14
